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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


   ACUITY BRANDS LIGHTING, INC.,                        )
                                                        )   Civil Action No. 1:19-cv-2207-MN
              Plaintiff/Counterclaim Defendant,         )
                                                        )   JURY TRIAL DEMANDED
                   v.                                   )
                                                        )
   ULTRAVISION TECHNOLOGIES, LLC,                       )
                                                        )
              Defendant/Counterclaim Plaintiff.         )
                                                        )
                                                        )

                            JOINT MOTION TO DISMISS WITHOUT
                                       PREJUDICE

       Pursuant to the Federal Rules of Civil Procedure 41(a)(2), Plaintiff Acuity Brands Lighting,

Inc., (“Acuity”) and Defendant Ultravision Technologies, LLC (“Ultravision”) (collectively, the

“Parties”), have resolved their respective claims for relief asserted in this litigation. Accordingly, the

Parties respectfully request that all claims asserted against Defendant by Plaintiff and all

counterclaims asserted by Defendant against Plaintiff herein are dismissed, without prejudice. Each

of the Parties to this Joint Motion is to bear its own costs and fees, including attorneys’ fees.

          So agreed and stipulated.

 Dated: August 31, 2021

 BAYARD, P.A.                                       DUANE MORRIS LLP


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                                                Inc.

Counsel for Defendant
Ultravision Technologies, LLC



IT IS SO ORDERED this VWday of 6HSWHPEHU 2021



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               The
               Th    Honorable
                he Hono   n rable Maryellen Noreika
               United
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